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 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Gina Cora
 3   Craig T. Cagney
     Luca Marzorati
 4     (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 5   450 Lexington Avenue
     New York, New York 10017
 6
     Telephone: (212) 450-4000
 7   Facsimile: (212) 701-5800
     Email: greg.andres@davispolk.com
 8            antonio.perez@davispolk.com
              gina.cora@davispolk.com
 9            craig.cagney@davispolk.com
              luca.marzorati@davispolk.com
10

11   Micah G. Block (SBN 270712)
     DAVIS POLK & WARDWELL LLP
12   900 Middlefield Road
     Redwood City, California 94063
13   Telephone: (650) 752-2000
     Facsimile: (650) 752-2111
14
     Email: micah.block@davispolk.com
15
     Attorneys for Plaintiffs
16   WhatsApp LLC and Meta Platforms, Inc.
17                              UNITED STATES DISTRICT COURT
18
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
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                                        )         Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
22    META PLATFORMS, INC., a Delaware  )         DECLARATION OF LUCA
      corporation,                      )         MARZORATI IN SUPPORT OF
23                                      )         PLAINTIFFS’ MOTION TO STRIKE
                      Plaintiffs,       )         THE SECOND SUPPLEMENTAL
24                                      )         REBUTTAL EXPERT REPORT OF
             v.                         )         GREGORY A. PINSONNEAULT
25                                      )
26    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )
27                                      )
                      Defendants.       )
28                                      )
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 1   I, Luca Marzorati, declare as follows:

 2          1.      I am an associate with the law firm of Davis Polk & Wardwell LLP and admitted pro

 3   hac vice to practice before this Court. I am counsel for Plaintiffs WhatsApp LLC and Meta Platforms,

 4   Inc. (“Plaintiffs”) in the above-captioned matter. I have personal knowledge of the facts set forth

 5   below and, if called as a witness in a court of law, could and would testify competently thereto.

 6          2.      I submit this declaration in support of Plaintiffs’ Motion to Strike the Second

 7   Supplemental Rebuttal Report of Gregory A. Pinsonneault filed concurrently herewith.

 8          3.      On August 26, 2024, NSO produced a spreadsheet that appeared to include revenue

 9   information for certain NSO products. See Dkt. No. 487-4. Plaintiffs did not fully understand how

10   the values in the spreadsheet were calculated, or the source of the information.

11          4.      On August 30, 2024, Plaintiffs served the Expert Report of Dana Trexler, CPA/CFF.

12   See Dkt. No. 487-3. At the time that Ms. Trexler submitted her report, NSO had not finished

13   producing all of its documents. Between September 3, 2024 and September 13, 2024, NSO produced

14   another approximately 330 documents.

15          5.      On September 6, 2024, Plaintiffs took the deposition Sarit Bizinsky Gil, NSO’s vice

16   president of global business operations. Plaintiffs asked Ms. Gil numerous questions about the

17   spreadsheet produced on August 26, 2024.

18          6.      On September 21, 2024, Plaintiffs served the Supplemental Expert Report of Dana

19   Trexler, CPA/CFF. Dkt. No. 487-6. NSO did not object to the Trexler Supplemental Report as

20   untimely when served. The same day, NSO served the Rebuttal Expert Report of Gregory A.

21   Pinsonneault. Dkt. No. 487-5.

22          7.      At the November 7, 2024 hearing, Plaintiffs’ counsel asked the Court to grant the

23   scheduling stipulation that the parties had previously filed. Attached hereto as Exhibit A is a true

24   and correct excerpt of the November 7, 2024 hearing.

25          8.      On November 8, 2024, NSO served the Supplemental Rebuttal Expert Report of

26   Gregory A. Pinsonneault.      Attached hereto as Exhibit B is a true and correct copy of the

27   Supplemental Rebuttal Expert Report of Gregory A. Pinsonnault, dated November 8, 2024.

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     DECLARATION OF LUCA MARZORATI IN SUPPORT OF PLAINTIFFS’ MOTION TO STRIKE THE SECOND SUPPLEMENTAL
     REPORT OF GREGORY A. PINSONNEAULT - CASE NO. 4:19-CV-07123-PJH
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 1          9.        On November 20, 2024, Plaintiffs took the deposition of Mr. Pinsonneault. Attached

 2   hereto as Exhibit C is a true and correct excerpt of the deposition transcript of Gregory A.

 3   Pinsonneault, taken in this case on November 20, 2024.

 4          10.       On November 27, 2024, NSO served the Second Supplemental Rebuttal Expert

 5   Report of Gregory A. Pinsonneault. Attached hereto as Exhibit D is a true and correct copy of the

 6   Second Supplemental Rebuttal Expert Report of Gregory A. Pinsonneault, dated November 27, 2024.

 7          11.       On December 2, 2024, Plaintiffs’ counsel asked NSO’s counsel to “to meet and confer

 8   with you regarding Plaintiffs’ anticipated motion to strike the second supplemental report of Greg

 9   Pinsonneault.”

10          12.       In response, NSO’s counsel requested to meet and confer with Plaintiffs’ counsel

11   regarding NSO’s “our contemplated motion to strike the supplemental Trexler report.”

12          13.       The parties met-and-conferred on December 5, 2024 regarding Plaintiffs’ motion to

13   strike the Second Supplemental Rebuttal Report of Gregory A. Pinsonneault but were unable to

14   resolve their dispute.

15          I declare under the penalty of perjury that the foregoing is true and correct.

16          Executed this 19th day of December 2024 in New York, New York.

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18                                              By: /s/ Luca Marzorati
                                                    Luca Marzorati
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     DECLARATION OF LUCA MARZORATI IN SUPPORT OF PLAINTIFFS’ MOTION TO STRIKE THE SECOND SUPPLEMENTAL
     REPORT OF GREGORY A. PINSONNEAULT - CASE NO. 4:19-CV-07123-PJH
